                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

PLANNED PARENTHOOD OF TENNESSEE
AND NORTH MISSISSIPPI; et al.,

               Plaintiffs,
                                                         CASE NO. 3:20-cv-00740
v.
                                                         JUDGE CAMPBELL
Herbert H. SLATERY III, Attorney General of
Tennessee, in his official capacity; et al.,             MAGISTRATE JUDGE NEWBERN

               Defendants.



                   JOINT MOTION TO REOPEN CASE AND LIFT STAY

        The Parties respectfully jointly move this court to reopen this case and lift the stay

entered on January 31, 2022. See Dkt. No. 110.

        This Court stayed all proceedings in this matter until the Supreme Court could issue its

decision in Dobbs v. Jackson Women’s Health Organization. The Supreme Court did so on June

24, 2022, see 142 S. Ct. 2228 (2022), and thus the Parties file this notice pursuant to this Court’s

January 31, 2022 Order.

        Because the Supreme Court’s decision in Dobbs overruled Roe v. Wade, it triggered

Tennessee’s ban on abortion at all gestational ages. Tenn. Code Ann. § 39-15-213. When this ban

becomes effective on August 25, 2022, the issues in this case will become moot, and thus the

Parties intend to file a joint stipulation of dismissal of this case without prejudice imminently.



Dated: August 23, 2022                         Respectfully submitted,

                                       By:     /s/ Stella Yarbrough
                                               Stella Yarbrough (No. 33637)



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                              CERTIFICATE OF SERVICE

      I, the undersigned, do hereby certify that on August 23, 2022, a true and correct copy of

the foregoing was served on the Tennessee Attorney General’s Office, counsel for all

Defendants, via the Court’s ECF/CM system.

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